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                                                                     FEB 1 8 2022
                    UNITED STATES DISTRICT COURT ,                            3^,^^ ^lerk ,
                   WESTERN DISTRICT OF OKLAHOMA uA dist.                  western dict.^oi^


BRITTNEY BUCKNER and VANCE                  ) JURY TRIAL DEMANDED
DOTSON                                      )
                                             )
                                             /


            Plaintiff,                       )

V.                                           ) Case No.
                                             )    5:22-cv-00002-D
ENHANCED RECOVERY COMPANY,                   )
LLC, and ACCOUNT RESOLUTION                  )
SERVICES, d/b/a HEALTHCARE                   )
REVENUE RECOVERY GROUP, LLC.,                )
and CAC FINANCIAL CORP.,                     )
                                             )
                                             /



            Defendants.                      )



PLAINTIFF'S MOTION TO STRIKE THE AFFIRMATIVE DEFENSES IN
HEALTHCARE REVENUE RECOVERY GROUP,LLC d/b/a ARS ACCOUNT
RESOLUTION SERVICES("HRRG") ANSWER



TO THE HONORABLE JUDGE OF SAID COURT:

      COMES NOW Plaintiff Brittney Buckner and Vance Dotson and files

this Motion to Strike^ Defendant's Affirmative Defenses included in its Answer

that was filed,,on February 8, 2022 (Dkt. 27). Plaintiff states the following in

support thereof:

I.    INTRODUCTION



1 Graham v CAC Financial Corp., CIV 18-376-R Doc 10 Aug 29, 2018 Judge
Russell Striking Similar insufficiently pled Affirmative Defenses
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